977 F.2d 575
    NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.Robert Walter WOLTZ, Plaintiff-Appellant,v.Samuel F. SAXTON, Director, C.C.C.;  Doctor Bhojah, HealthCare Provider, C.C.C.;  Doctor Grant, Health CareProvider, C.C.C., Defendants-Appellees.
    No. 92-6417.
    United States Court of Appeals,Fourth Circuit.
    Submitted:  June 23, 1992Decided:  October 20, 1992
    
      Appeal from the United States District Court for the District of Maryland, at Baltimore.
      Robert Walter Woltz, Appellant Pro Se.
      John Trahey Beamer, II, Michael Patrick Whalen, County Attorney's Office, Upper Marlboro, Maryland;  Kevin Francis Arthur, Kramon &amp; Graham, P.A., Baltimore, Maryland, for Appellees.
      D.Md.
      DISMISSED.
      Before WIDENER, HALL, and WILLIAMS, Circuit Judges.
      PER CURIAM:
    
    
      1
      Robert Walter Woltz noted this appeal outside the thirty-day appeal period established by Fed.  R. App.  P. 4(a)(1), and failed to move for an extension of the appeal period within the additional thirty-day period provided by Fed.  R. App.  P. 4(a)(5).  The time periods established by Fed.  R. App.  P. 4 are "mandatory and jurisdictional."   Browder v. Director, Dep't of Corrections, 434 U.S. 257, 264 (1978) (quoting  United States v. Robinson, 361 U.S. 220, 229 (1960)).  Appellant's failure to note a timely appeal or obtain an extension of the appeal period deprives this Court of jurisdiction to consider this case.  We therefore grant Appellees' motion and dismiss the appeal.  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the Court and argument would not aid the decisional process.
    
    DISMISSED
    